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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 VANESSA WEISS,

                               Plaintiff,
                                                            Civil Action No.
                        v.
                                                            1:21-cv-04648
 PREMIER TECHNOLOGIES and AT&T
 CORPORATION,

                               Defendants.




            REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF
         DEFENDANTS’ MOTION FOR OF CHANGE VENUE AND TO DISMISS




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                                PRELIMINARY STATEMENT

                 Defendants Premier Technologies (“Premier”) and AT&T Corporation

(“AT&T”) (collectively, “Defendants”), submit this reply memorandum of law in further

support of their motion to transfer the venue of this matter to the United States District

Court for the Western District of New York pursuant to 28 U.S.C. § 1404(a), and to dismiss

portions of the Amended Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6).

                                         ARGUMENT

                                           POINT I

     PLAINTIFF HAS NOT PROVIDED ANY VALID BASIS FOR THIS COURT TO
         MAINTAIN VENUE IN THE SOUTHERN DISTRICT OF NEW YORK

                 In opposition to Defendants’ motion to transfer venue, Plaintiff argues that

this matter should remain venued in the Southern District of New York for two reasons:

(1) Plaintiff at one point in her life lived within the Southern District of New York, and (2)

Defendant AT&T is located in the Southern District of New York. (Plaintiff’s Memo of Law,

pp. 1 – 2).

                 Neither of these allegations provides a sufficient basis to keep this matter

in the Southern District of New York. As an initial matter, Plaintiff’s prior residence is

wholly irrelevant to this case. Plaintiff did not reside within the Southern District of New

York when any of the conduct alleged in the Complaint occurred, and she does not reside

there now. There is no dispute that none of the facts alleged in the Complaint occurred in

the Southern District of New York.

                 Similarly, the fact that Defendant AT&T, which is an international

corporation, has an office within the Southern District of New York, does not warrant




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venue in that District. Indeed, it is clear from the facts alleged in the Complaint that the

Southern District of New York has no connection to this matter.

                 Plaintiff’s opposition wholly ignores the following facts, which are alleged by

Plaintiff:

                    Plaintiff currently resides within the Western District of New York, and

                     resided within the Western District of New York at all times relevant to

                     the Amended Complaint.

                    All relevant conduct and interactions occurred in the Western District of

                     New York.

                    Plaintiff worked for Premier in the Western District of New York, and has

                     alleged that all discriminatory and retaliatory conduct occurred in the

                     Western District of New York.

                    None of the witnesses identified by Plaintiff in the Amended Complaint

                     lived or worked in the Southern District of New York during the relevant

                     time period.

                    Critical witnesses will be outside the scope of this Court’s subpoena

                     power, including Mary Weiler and Paul Draper, who are no longer

                     employed by Premier.1

                 Finally, to the extent Plaintiff is asking this Court to abide by her choice of

venue, it is clear that her choice should be given very little weight. Indeed, it is well-

established that “where the plaintiff has chosen a forum that is neither the district of [her]



1 Plaintiff also submits a declaration in opposition to the current motion from alleged witness Mary
Honora McCormack. According to the declaration, Ms. McCormack resides in Ontario County, which is
also in the Western District of New York.

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residence, nor the locus of the operative facts in the case, this choice is given

considerably less weight.” Employers Ins. of Wausau v. News Corp., No. 06-cv-1602,

2008 WL 4443899, *3 (S.D.N.Y. Sept. 29, 2008).

                 Based upon the foregoing, as well as for the reasons stated in Defendants’

original Memorandum of Law, venue should be transferred to the Western District of New

York.

                                          POINT II

                      PLAINTIFF’S CLAIMS AGAINST AT&T SHOULD
                           BE DISMISSED IN THEIR ENTIRETY

                 Plaintiff spends the majority of her memorandum of law arguing that this

Court should not dismiss AT&T from the case. Plaintiff makes three arguments: (1) issues

relating to an employment relationship should not be decided on a motion to dismiss; (2)

the allegations in the Amended Complaint are sufficient to satisfy her pleading burden;

and (3) AT&T was on notice of the alleged discriminatory and retaliatory action and failed

to act. As discussed below, Plaintiff’s arguments are insufficient to keep AT&T in this

case.

A.      Plaintiff’s opposition ignores the fact that AT&T Corporation has no
        relationship with Premier or Plaintiff

                 Defendants’ motion argues that the Complaint should be dismissed against

named defendant “AT&T Corporation,” because that entity has no relationship with

Premier or Plaintiff. Indeed, the only AT&T entity that has a relevant relationship with

Premier is AT&T Mobility II, LLC, which entered into an “AT&T Exclusive Regional Dealer

Agreement” with Premier. See Mueller Dec., Ex. A. As such, Plaintiff incorrectly named

AT&T Corporation as a defendant, and her complaint against that corporate entity should

be dismissed.

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                 Defendants made this argument in support of their first motion to dismiss,

as well as the current motion to dismiss. In spite of the fact that Plaintiff has been on

notice of the fact that she sued the wrong entity, no amendment or change was made in

Plaintiff’s Amended Complaint. Moreover, Plaintiff’s opposition to the current motion does

not even address this issue. As a result, Plaintiff’s complaint should be dismissed against

defendant AT&T Corporation.

B.       Courts routinely grant motions to dismiss where a complaint fails to allege
         facts sufficient to establish joint employment or single employer status

                 In opposition to the current motion, Plaintiff argues that questions regarding

joint employment or single employer status are factual issues that should not be decided

on a motion to dismiss. However, Plaintiff’s opposition ignores the fact that many courts

have granted motions to dismiss in similar cases where plaintiffs fail to plead adequate

facts to establish joint or single employer status. In addition to the cases cited in

Defendants’ original brief, please also see Hugee v. SJC Group, Inc., No. 13-cv-0423,

2013 WL 4399226, *10 – 11 (S.D.N.Y. Aug. 14, 2013) (granting Rule 12(b)(6) motion and

holding that plaintiff failed to sufficiently allege a set of facts to support his allegation that

defendant was his joint employer); Duff v. Pristine Services, Inc., 2021 WL 663981, *5

(S.D.N.Y. Feb. 19, 2021); Diaz v. Consortium for Worker Educ., Inc., 2010 WL 3910280,

*4 (S.D.N.Y. Sept. 28, 2010); Ruiz v. New Avon LLC, 2019 WL 4601847, *14 (S.D.N.Y.

Sept. 22, 2019); Fried v. LVI Services, Inc., 2011 WL 2119748, *7 (S.D.N.Y. May 23,

2011).

                 As discussed below and in Defendants’ original Memorandum of Law, the

Plaintiff in this case, like the plaintiffs in the cases cited above, failed to state facts that

are sufficient to warrant denial of Defendants’ motion.


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C.      Plaintiff’s opposition fails to identify any facts that would justify a finding
        that she was jointly employed by any AT&T entity or that AT&T and Premier
        are a single employer

                 Plaintiff argues in opposition to the current motion that she has alleged

sufficient facts to withstand a Rule 12(b)(6) motion as it relates to AT&T. However,

Plaintiff’s opposition fails to acknowledge the most crucial allegations, which she alleged

in the Amended Complaint, including the following:

                       Plaintiff applied for a job with Premier (¶ 22);

                       Plaintiff interviewed with Premier’s Human Resources Associate and

                        Regional Manager (¶ 23);

                       Plaintiff worked in Premier’s Batavia and Victor stores (¶ 25);

                       Plaintiff’s supervisor and manager were Premier employees (¶ 26);

                       Plaintiff allegedly brought complaints to Premier’s Human Resources

                        employee (¶¶ 40 - 41);

                       Plaintiff was supervised by Premier employees (¶ 97);

                       Plaintiff was terminated by Premier employees (¶ 97); and

                       All alleged discriminatory and retaliatory conduct was engaged in by

                        Premier employees (¶¶ 26 - 97).

                 The Amended Complaint does not allege that AT&T participated in Plaintiff’s

interview, hiring, firing or discipline. The Amended Complaint also does not allege that

AT&T paid Plaintiff or had any authority to control her compensation or the terms of her

employment. The Amended Complaint also does not allege that any AT&T employee

participated, in any way, in the alleged discrimination or retaliation.




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                 Rather than address the factual deficiencies in the Amended Complaint, in

opposition to the current motion, Plaintiff provides new information, which she believes

establishes a joint employment relationship. This new information includes a Coaching

Action Plan (“CAP”) that Plaintiff was provided by Premier to help her improve her

performance, as well as the LinkedIn page for Premier employee Jeffrey Carpenter.

Neither submission is sufficient to warrant denial of the present motion.

                 As an initial matter, Plaintiff cannot argue in good faith that the CAP shows

AT&T was her joint employer. As Plaintiff is well aware, the CAP form was completed by

her Premier supervisor, Courtney Sturdy, and given to her by Premier in an effort to help

improve her performance. The fact that the form contains an AT&T logo does not

establish any employment relationship with AT&T. Premier sells AT&T products and has

AT&T’s logo on its stores. This does not mean that AT&T is the joint employer of any of

Premier’s employees. As discussed in Defendants’ original Memorandum of Law, the

relationship between AT&T and Premier is analogous to a franchisor/franchisee

relationship, which courts in this Circuit have consistently held does not establish joint or

single employment. See Rivers v. International House of Pancakes, et al., No. 20-cv-

2471, 2021 WL 860590, *3 (S.D.N.Y. Mar. 8, 2021).

                 Similarly, the LinkedIn page for Jeffrey Carpenter does not, as Plaintiff

alleges, demonstrate that employees are “shifted” between the two Defendants in this

case. Mr. Carpenter’s LinkedIn page provides a summary of his employment history.

(Dkt. 29-2). That history includes working for AT&T Mobility from 2005 until January 2009,

then for Prime Communications from February 2009 through August 2009, and then for

Premier from September 2009 to the present. Id. This is not evidence of “shifting”



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between AT&T and Premier. In fact, Mr. Carpenter worked for a completely different

company between his time with AT&T and Premier, and he clearly delineates his time

with each as a separate employment. Id.

              Plaintiff also attempts to argue that she did not know who employed her

supervisor, Courtney Sturdy.       (Plaintiff’s Memo of Law, p. 10).         This argument is

disingenuous, at best. Plaintiff concedes that she applied to work for Premier, interviewed

with Premier’s Human Resources Manager and Regional Manager, and was terminated

by Premier’s Vice President. Plaintiff is also able to distinguish between Premier and

AT&T employees in the Amended Complaint when she specifically references AT&T

employees Abby and Patty, who came to Premier’s stores to work with Plaintiff on

improving sales. See Amended Complaint, ¶¶ 62 and 63. If Plaintiff believed Mr. Sturdy

was employed by AT&T, she would have made that allegation in the original or Amended

Complaint. She did not. Plaintiff cannot now hide behind ignorance and claim that she

did not know whether Courtney Sturdy was employed by Premier or AT&T.

              Finally, Plaintiff argues that although the Amended Complaint characterizes

AT&T as a “joint employer,” she also intends to claim that AT&T and Premier were a

“single employer.” The Second Circuit has adopted a four-part test for determining

whether two separate entities are a single employer, which examines the following

factors: “(1) interrelation of operations, (2) centralized control of labor relations, (3)

common management, and (4) common ownership or financial control.” Fried v. LVI

Services, Inc., 2011 WL 2119748, *3 (S.D.N.Y. May 23, 2011) (quotations omitted).

“Courts applying this four-part standard in discrimination cases have especially focused

on the second factor: centralized control of labor relations. . . . The critical question in this



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respect is: ‘what entity made the final decisions regarding employment matters related to

the person claiming discrimination?.’” Id.

              Here, there is no question that Premier made the final determination

regarding Plaintiff’s employment. Plaintiff concedes that Premier made the decision in

her Amended Complaint. (Amended Complaint, ¶¶ 96 – 97). Similarly, Plaintiff claims

that she made a complaint to Premier Human Resources employee Mary Weiler

regarding alleged discrimination. Id., ¶ 41. Furthermore, Plaintiff does not, and cannot,

allege that AT&T and Premier have common management or common ownership or

financial control. As such, the single employer doctrine is no more helpful to Plaintiff than

the joint employer doctrine.

              Neither Plaintiff’s Amended Complaint, nor her new “evidence” that was

submitted in opposition to the current motion establishes that AT&T was her joint

employer or that AT&T and Premier were a single employer. As such, Plaintiff’s claims

against AT&T should be dismissed in their entirety.

D.      The Complaint fails to allege that any AT&T entity should be liable for the
        alleged discriminatory and retaliatory conduct

              It is undisputed that the Amended Complaint fails to include any allegation

that any AT&T entity knew or should have known about Premier’s allegedly discriminatory

or retaliatory conduct or that AT&T had any power to control the conduct of Premier’s

employees. It is also undisputed that the Amended Complaint fails to allege that any AT&T

entity’s employees participated in discriminatory or retaliatory conduct toward Plaintiff.

Indeed, all allegedly discriminatory or retaliatory conduct is attributable to Premier, and

Plaintiff does not allege any conduct, knowledge or failure to act by AT&T. Based upon

well-established caselaw, the Amended Complaint should therefore be dismissed as


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against AT&T. See, e.g., Coleman v. Nonni’s Foods, LLC, No. 15-cv-2791, 2015 WL

8773467, *4 (S.D.N.Y. Dec. 14, 2015) (dismissing claim against alleged joint employer

where the complaint failed to allege that the joint employer knew or should have known

about alleged racist conduct by employees of the other joint employer).

              Confronted with the relevant caselaw, which requires dismissal of the

Amended Complaint against AT&T, Plaintiff attempts to manufacture a claim by

submitting the affidavit from an alleged fact witness and friend of Plaintiff named Mary

Honora McCormack in opposition to the current motion. (Dkt. 28). Ms. McCormack claims

that on some unknown date in 2019, she went to Premier’s Victor, New York store, and

that she witnessed Premier employee Courtney Sturdy engaging in conduct that she felt

was offensive. Id., ¶¶ 2, 4 – 7. Ms. McCormack also claims that when she got home from

the Victor store, she called some unknown telephone number and spoke with some

unknown customer service representative about her experience in the store. Id., ¶ 10.

Plaintiff claims that this affidavit demonstrates that AT&T was on notice of the alleged

discriminatory conduct and failed to take corrective measures within its control. Plaintiff’s

argument fails for several reasons.

              First, Ms. McCormack’s Declaration does not establish that AT&T knew

anything about Plaintiff’s alleged claims. It does not state when Ms. McCormack made

the alleged call, what number she called or who she spoke with. It is not even clear from

the Declaration that Ms. McCormack spoke with anyone from AT&T. This cannot be

sufficient to meet Plaintiff’s burden.

              Second, even if AT&T received the alleged phone call from Ms.

McCormack, Plaintiff does not, and cannot, make any allegation that AT&T had any



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authority to take corrective action against Mr. Sturdy. It is not disputed that Mr. Sturdy is

an employee of Premier. As such, AT&T had no authority to discipline Mr. Sturdy or take

any corrective action against him. This is because AT&T was not Mr. Sturdy’s employer

and had no control over him, as demonstrated by the Agreement between AT&T and

Premier. See Mueller Dec., Ex. A

              Finally, Plaintiff argues that AT&T must have known about Mr. Sturdy’s

alleged discriminatory conduct because when Plaintiff allegedly made a complaint to

Premier Human Resources employee Mary Weiler via instant messenger, Ms. Weiler

allegedly said that she did not know who was monitoring the conversation. Plaintiff argues

that Ms. Weiler’s alleged statement “permit[s] an inference of AT&T’s involvement.”

(Plaintiff’s Memo of Law, p. 11).    It is not clear how Plaintiff makes the inference that

AT&T had any involvement in this alleged conversation. Plaintiff does not allege that Ms.

Weiler stated that AT&T was monitoring the conversation, or that any AT&T employee

had access to the conversation. Rather, Plaintiff alleges that Ms. Weiler stated that she

did not know who was monitoring the conversation. (Amended Complaint, ¶ 42). This

allegation does not implicate AT&T in any way.

              The fact that Plaintiff attempts to use this alleged conversation as proof of

AT&T’s alleged involvement is telling. Plaintiff clearly has no facts on which to base her

claim that AT&T knew about Plaintiff’s allegations of discrimination, or that AT&T had any

authority to control Premier’s employees. As a result, the Amended Complaint should be

dismissed in its entirety as against AT&T. Conde v. Sisley Cosmetics USA, Inc., No. 11-

cv-4010, 2012 WL 1883508, *5 (S.D.N.Y. May 23, 2012).




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                                     CONCLUSION

              Based on the foregoing, as well as for the reasons stated in Defendants’

original memorandum of law, venue of this matter should be transferred to the United

States District Court for the Western District of New York, and Plaintiff’s claims against

AT&T Corporation (or any AT&T entity) should be dismissed in their entirety.

Dated: November 22, 2021                        BOND, SCHOENECK & KING, PLLC


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                               CERTIFICATE OF SERVICE

              I hereby certify that on November 22, 2021, I electronically filed the

foregoing Memorandum of Law in Further Support of Defendants’ Motion for change of

Venue and to Dismiss with the Clerk of the District Court using the CM/ECF system,

which sent notification of such filing to the following:

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Dated: November 22, 2021
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